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 PROB 35                                      Report and Order Terminating Probation
(Rev. 5/01)                                      Prior to Original Expiration Date


                                UNITED STATES DISTRICT COURT
                                                    FOR THE

                                     EASTERN DISTRICT OF MICHIGAN


              UNITED STATES OF AMERICA

                           v.                                  Crim. No. 2:16-CR-20439-01


                  CYNTHIA FLOWERS




       On November 15, 2016, the above named was placed on Probation for a period of two years. The
 probationer has complied with the rules and regulations of probation and is no longer in need of supervision. It
 is accordingly recommended that the probationer be discharged from supervision.




                                                                Respectfully submitted,



                                                                                s/LaMisha J. Rice
                                                                         U.S. Probation Officer Assistant



                                               ORDER OF COURT

      Pursuant to the above report, it is ordered that the probationer be discharged from supervision and that the
proceedings in the case be terminated.

          Dated this      2nd     day of                January               , 20 18      .


                                                                            s/Matthew F. Leitman
                                                                         Honorable Matthew F. Leitman
                                                                          United States District Judge
